Case

LAW FIRM OF

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2:12-cr-20598-SFC-MKM ECF No. 12 filed 02/22/13 PagelD.63 Page 1 of 4

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
CASE NO. 12-CR-20598
Vs. HONORABLE. Sean F. Cox
United States District Judge

Michael Winans, Jr,

 

 

Defendant.
William M Hatchett (P23350) Abed E. Hammoud
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DEFENDANT MICHAEL WINANS’ SENTENCING POSITION

Background

On September 10, 2012, a One Count Information Charging Michael Winans, Jr.
with Wire Fraud in Violation of 18 U.S.C. § 1343 and Forfeiture Allegations, pursuant
to Federal Rules of Criminal Procedure, 32.2(a) was filed. The offense conduct took
place from October 2007 through September 2008.

On October 3, 2012 the Defendant, after meeting with the FBI and the Assistant
United States Attorney, reached a Rule 1l(c) (1) (c) Plea Agreement and on

October 3, 2012, the Defendant appeared before this Court and entered a Plea of Guilty

 
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2:12-cr-20598-SFC-MKM ECF No. 12 filed 02/22/13 PagelD.64 Page 2 of 4

to Count One of the information. The Plea of Guilty was accepted and the Rule 11 Plea

Agreement was taken under advisement by the Court.

Defendant’s History

The Defendant Michael Winans, Jr. was born in 1982 to his parents Michael Sr.
and Regina Winans. The Defendant’s upbringing was in a Christian household where
positive values were strongly emphasized. The family unit as noted in the PSI Report is
very Close knit and there is tremendous support for Michael among his family members.

Michael Winans, Jr. is married to Stephanie Winans and to this union, one (1)
child has been born, Ari Winans. The Defendant has a consistent history of employment
and is a resourceful person and very dependable. Michael has volunteered over 50 hours
of Community service to two organizations American Rescue Workers and The Manna
House located in Baltimore, MD.

Factors Under 18 U.S.C § 3553 That Warrant A Sentence
of Not More Than the Bottom of the Guidelines

The position of the Government advocating that this Court sentence the
Defendant within the guideline range at first blush appears to be well within reason.

While the Sentencing Commission generally favors preponderance of the
evidence in the determination of sentencing factors, the Defendant urges this Court to
consider the extremely disproportionate effect this has on the sentence to be imposed in
this case.

The Presentence Investigation Report contains the details of Michael Winans,
Jr.’s life. There are many positive factors that can be extracted from the detailed report.

In compliance with United States v. Booker, 125 S Ct. 738 (2005), the Court is

directed to consider a number of factors in determining a defendant’s sentence. Under

 
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2:12-cr-20598-SFC-MKM ECF No. 12 filed 02/22/13 PagelD.65 Page 3 of 4

§ 3553(A), the Court must impose a sentence sufficient, but not greater than necessary,
to accomplish the purposes of sentencing. Those purposes are set forth in
18 U.S.C. § 3553(A) (1) through (7). No single factor seems to have primacy, but the
court is directed to consider the person and the conduct in reaching its sentencing
determination. It would further appear that under the clarifying cases of Gall v. US, 552
U.S. 128 S Ct at 586 (2007) and Kimbrough v. U.S., 552 U.S. S Ct 558 (2007), the
court is advised to begin with the Advisory Sentence Guideline Calculation, but then
turn to U.S.C. § 3553(A) for support, cr a lack thereof, to that initially determined
advisory range or the sentencing position of the parties.

The Need for the Sentence Imposed to
Reflect the Seriousness of the Offense

The Defendant is going to Federal prison and he recognizes that the sentence

- will be substantial. No one--not the Defendant, not his family, not the community at

large--will take the Defendant’s sentence as anything other than a statement of the
seriousness with which this conduct is treated by the Judicial System. The severe
sentence will deter the Defendant, and others who may have knowledge of it, from
committing like crimes should they just stop and think. Mike Winans will be gone from
the community for a significant period of time. For that time, the public will be
protected.
Conclusion

The Defendant Michael Winans, Jr. has requested that the Court be made aware

of the fact that he accepts full responsibility for the heartache, pain and economic

disaster that his conduct caused to countless innocent and trusting individuals.

 
Cas@| 2:12-cr-20598-SFC-MKM ECF No. 12 filed 02/22/13 PagelD.66 Page 4 of 4

It is noted in the Presentence Investigation Report that this fraudulent scheme
was not created by Mike Winans, however when he became aware of it, he failed to do
the honorable thing and shut it down. The Court is aware of the numerous letters of
support that many people have written in the hope that somehow the Court would see a
different side of Mike Winans. Mr. Winans has acknowledged the fact that the suffering
that he has caused so many people can only be made right and corrected if the people
who lost their funds are repaid. The fact that Michal Winans has never been in any legal
trouble speaks for itself. The voice that he now speaks with is one of remorse, humility
and fear. It is respectfully requested that this Court take into consideration the many
kind acts and deeds of this young man and show mercy in passing sentence on him.

Respectfully submitted,

/s/William M. Hatchett

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Dated: February 22, 2013

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